Case 8-18-71159-reg Doc 22 Filed 03/27/18 Entered 03/27/18 16:45:10

UNITED STATES BANKRUPTCY COURT
EASTER_N DISTRlCT OF NEW YORK

 

In re: Case No.: 18-71 159-reg
Bridge Associates of Soho, lnc., Chapter ll

Debtor.
---- X

 

AFFIDAVIT PURSUANT TO RULE 1007-4

ADAM D. LUCICl\l]i`.R1 hereby states and affirms under the penalties ot`perjury:

l. l am the Sole Shareholder and President of Bridge Associates of Soho, Inc. (the
“Debtor”) the Debtor herein, and submit this affidavit pursuant to Rule 1007~4 of the Local
Bankruptcy Rules.

2. T‘ne business of the Debtor is a Real Estate Holding Company. This Chapter 11
was required due to a tax lien foreclosure safe date which threatened to divest the Debtor of its
fee simple ownership interest in the real property commonly known as 99 Vandam Street a/l</a
533 Greenwich Avenue, New York, New York (the “Property”). The Debtor is not a small
business, and no committee was organized prior to the order for relief in the Chapter 11 case.

3. On February 23, 2018, the Debtor is filing its original petition for reorganization
of its debts under Chapter ll of the Bankruptcy Code.

4. The Debtor is required to tile a list containing the names and addresses of the
twenty largest unsecured creditors (i) excluding those who or which would not be entitled to vote
a creditors meeting under ll U.S.C. 702; (ii) such creditors who are employees ot` the Debtor at
the time of the filing of the petition of reorganization; and (iii) creditors who are “insiders” as

that term is defined in Section 101(25) of the Banl<ruptcy Code. The list of the twenty largest

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unsecured creditors and the list of the five largest secured creditors have already been filed. A
copy of those lists are annexed hereto as Exhibit “A”.

5. There are seven (7) secured creditors The Debtor has total assets of
approximately Thirteen Million, Nine Hundred and Eighty Thousand ($13,980,000.00) dollars
and total liabilities of approximately Twelve Million, Five Hundred and Forty Eight Thousand
($l2,548,000.00) dollars A summary of Debtor’s assets and liabilities are attached herewith as
Exhibit “B".

6. The location of the Debtor’s business premises as well as the books and records
are at the primary offices which are located at 619 Bridge Street, Woodmere, New York. The
Property is the Debtor’s primary asset.

7. None of the Debtor’s property is in the possession or custody of any custodian,
public officer, mortgagee, pledgee, assignee of rents, or secured creditor, or agent for any entity,
except that the Property is occupied by 13 individuals

8. All membership shares are shares of one class, 100% being held by Adam
Lucl<ner, Sole Shareholder. The information as to the shares is attached hereto as Exhibit “C”.
As Sole Shareholder of the Debtor, Adam D. Lucl<ner is responsible for the day-to-day
operations of the business He has over fifteen (15) years experience in the real estate industry.
The current management will manage the Debtor as Debtor-In~Possession. Adam D. Luclcner
does not earn a salary. There are no other members, managers officers or directors

9. The Debtor has zero (0) employees The monthly payroll is zero ($0.00) dollars

il). The Debtor estimates operating expenses to not exceed $5,000.00 dollars for real

estate taxes for the first thirty (30) day post-petition period. Past due amounts to creditors are not

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included herein as operating expenses, since they will be dealt with under the Plan of
Reorganization.

11. The Debtor expects w income from its business operations to be
approximately $0.00 dollars in the first thirty (30) day post-petition period

12. The needs and interest of the Debtor and its creditors will be best served by the
Debtor’s continued operation and management of its assets The Debtor believes that the interest
of all parties would be best served by the continuation of the Debtor’s operations and property
management as debtor-in-possession under Chapter 11 until confirmation of a reorganization
plan.

Dated: March 26, 2018
Woodmere, New York

 

By: Adam D. Luckner
Sole Shareholder & President
Bridge Associates of Soho, Inc.

Sworn to before me this
26“‘ day er March, 2018

%a/inaw§ thpz.,/i/

Notary Public

      

- 'MAHAHAN|E PERSAUD
Ho\ary`Pubr|c - Slate 01 Now York
NO. D1P56232591
\; omitted ln Nassau Gounty
‘j" M commission E:plrus -

     
  

   

 

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EXHIBIT “A”

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Fill in this information to identi
Bridge Associates of SOHO, |nc.

_ Debtor name

the case:

 

united states eanrrupiey court iBF ir? EASTERN oisrRicr oF NEW
' YoRK

 

Case number (if known).'

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j Check if this is an

amended filing

 

Officia| Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured C|aims and

Are Not insiders

12115

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. include claims which the
debtor disputes Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). A|so, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

' Name of creditor and Name, telephone number Nature of claim indicate if claim Amount of claim
complete mailing address, and emaii address of (for examp|e, trade is contingenf, if the claim is fully unsecured fill in only unsecured claim amount if
including zip code creditor contact debts. bank |oans. unliquidated, or claim is partially secured. iit| in total claim amouniand deduction for
professional services disputed value of collateral or setoff io calculate unsecured claim.
and government Tota| claim, if Deduction for value Unsecured claim
EOl"fl'aCfS) partiain secured of collateral or setoff
Adam D. Luckner ‘ Persona| Loan Disputed ' $5,443,085.00
' 619 Bridge Street, .
Woodmere, N‘( l 1
11593 . l
t l l
§ Lambert & Legai Services Disputed $74,238.77
iShackman, PLLC `
274 Madison l §
Aven ue
New York,rN__Y 10016 1
New Yori< City Loft Fines Disputed Unknown
Board l
280 Broadway, 4th
F|r.
New York, Nv 10007 l
|
_, l l
_ NYC Dept of Tax & Taxes Disputed l Unknown `
l Finance l l
WA Harriman l
l Campus l
l Bldg 9 l
l£.i@iy, NY 12227 i
i .
i . i i
-! ' s fi
! i 4
Ofiicia| form 204 Chapter 11 or Chapier 9 Cases: List of Crediiors Who l-iave the 20 Largest Unsecured claims page 1

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Fil| in this information to identify the case:

 

l Debtor name BridgeAssociates of SOHO, |nc.

l
l United States Bankruptcy Court for the:

 

 

EASTERN D|STR|CT OF NEW VORK l

 

: Case number (if known)
|:| Check if this is an
amended filing

_ ,A

Officia| Form 206D
Schedule D: Creditors Who Have Claims Secured by Property 12i15

 

 

Ele as complete and accurate as possiblel

1. Do any creditors have claims secured by debtor's property?
l:l No. Check this box and submit page 1 of this form to the court With debtors other schedules Debtor has nothing else to report on this form.
- Yes. Fi|| in all of the information below

m List Creditors Who Have Sec_ured Claims

2. List in alphabetical order all creditors who have secured claims. |fa creditor has more than one Secured
ciaim. list the Creditor separately for each claim.

Column A Column B

Amount of claim Value of collateral
that supports this

Do not deduct the value claim

,_ _ _ ofcollateral.
§ criminal ciofNYc $5,000@ jsr,soi),outi,_tig

Creditor‘s Narne

Descrlbe debtor's property that is subject to a lien

99 Vandam St, NY, NY

100 Centre Street AKA 533 Greenwlch St, NY, NY

New ¥ork, NY10013

Credilor‘s mailing address

 

Descrlbe the lien

Judg merit 7
ls the creditor an insider or related patty?

- Nc
l:l Yes

ls anyone else liable on this clalm?

 

Crediior's emai| address if known

Date debt was incurred - NO

6-4-08 |:l Yes. Fiii our schedule H: cedebiers (ornciai Form zoeH)
La$t 4 digits of account number

As of the petition filing date, the claim is.~
Check all that apply

Do multiple creditoi:s have an
interest in the same property?

l ND i:| Coniingent
l:.l Yes. Specify each creditor, m U"|l(iuidat@d
including this creditor and its relative - Disputed

prioriiy.

9 NYC Dept of Filiance

Creclitor`s Name

100 Church Street
New York, NY 10007

Creditor's mailing€ddress

Crediior's emai| address if known

Date debt was incurred

Last 4 digits of account number

D¢o mdltiple creditors have an
interest in the same property'?

Officia| Form ZOBD
Software Copyrighi (c) 1996-2018 Eesl C.ase. LLC -www.besicase,com

Descrlbe debtor's property that is subject to a lien
99 Vandam St, NY, NY
AKA 533 Greenwich St, NY, NY

 

Descrlbe the lien
Tax Lien

 

ls the creditor an insider or related party?
- No
l:l Yes

ls anyone else liable on this c|alm?

.No

l:l Yes. Fi|l out Scheo'ule H.' Codebtors (thcial Forrn 206|~|}

As of the petition filing date, the claim is:
Check all that apply

Schedule D: Creditors Who Have C|aims Secured by Property

$105_,_01_)_0.L jsr,stit),ooo.ooj

page 1 of 4

Best C.ase Bani<ruptcy

Debtor

Case 8-18-71159-reg Doc 22

 

Bridge Associates of SOHO, Inc. Case number (lr tnow)
_l"lame 7
- No m Contingent

l:l Yes. Specify each creditor.

m Unliquidated

 

including this creditor and its relative l Disputed
priority.
21 NYC Dept Of H¢OUS¢i[tg _ Describe debtor's property that is subject to alien n $19,9[}(`_)_[](]j $7,500,0{]0_00

Creditr)r's Name

Preservation&Development
100 Church Street
New ¥onrk, N¥ 10007

Creditor's mailing address

Creditor`s email address. if known

Date debt was incurred
6-2-09

Last 4 digits of account number

Do multiple creditors have an
interest in the same property?

-No

|:| Yes. Specify each creditor.
including this creditor and its relative
priority.

LA `NYC W,

_Creditor's Name

100 Church Street
New York, NY 10007

Credltor‘s mailing address

Creditor's small address it known

Date debt was incurred

Last 4 digits of account number

Do multiple creditors have an
interest in the same property‘?

- No
l:i Yes. Specify each creditor,

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99 Vandam St, N‘(, NY
AKA 533 Greenwich St, NY, NY

 

Descrlbe the lien

Judgment
ls the creditor an insider or related party'?

- No
l:l Yes

ls anyone else liable on this claim?
l No
-E Yes. Fil| out Schedule H: Codebtors (Oft"icial Form ZGESH)

 

As of the petition filing date, the claim is:
Checl< all that applyl

m Contingent
m Unliguidated

- Disputed

Descrlbe debtor's property that is subject to alien Unkrlown

 

99 Vandam St, NY, NY
AKA 533 Greenwich St, NY, NY

 

Descrlbe the lien

Liens
ls the creditor an insider or related party?

- i\lo
m Yes

ls anyone else liable on this claim'?
- No
l:l Yes, Fill out Schedule H.' Codeolors (Ochia| Form 206l-i)

 

As of the petition filing date, the claim is:
Check all that apply

l:l Contingent
l:| Unliquidated

 

Ofi`lcial Form 205D

 

including this creditor and its relative - Disputed
priority
` NYCT]_ 1998-2 Trust Descrlbe debtor's property that is subject to a lien $2,300,000.[]_0_ _$7,500,000_00

'Creditor`s Narne
cio MTAG Services, LLC
PO Box 223762

Pittsb__i£:jh, PA15251

jt‘;rel:lilor:s mailing address

Credilor's Ernail address if known

$7,500,000.1£

 

99 Vandam St, NY, NY
AKA 533 Greenwich St, NY, NY

 

Describe the lien

Tax Lien
ls the creditor an insider or related party'?

- No
m Yes

 

Additlonal Page of Schedu|e D: Creditors Who Have Claims Secured by Property

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Best Case Bankruptcy

Debtor

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Bridge Associates of SOHO, |nc.

 

NBmE

Date debt was incurred

Last 4 digits of account number

Do multiple creditors have an
interest in the same property?

-No

l:l YeS. Specify each creditor`
including this creditor and its relative
priority

ls anyone else liable on this claim?

.No

|:] Yes. Fit| out Scnedule H: Codebtors (Of‘licia| Form ZOt`)H)

As of the petition filing date, the claim is:
Check all that apply

l:l Contingent
l:| Unliquidated

- Disputed

Case number (irknaw)

 

 

 

 

 

 

 

 

 

 

 

 

_2_5 Streetisnacks Descrlbe debtor's property that is subject to a lien $S,SUOLOOO.UD _ $7,500,000.0|]
Cr€d"f<"`$ Name 99 Vandam St, NY, NY
AKA 533 Greenwich St, NY, NY
349 W. 37th Street
New York, NY 10018
Credltor's mailing address DESCFibE the ilel'l
tst Mtg
ls the creditor an insider or related party'?
- No
Creditor's email address if known m Yes
ls anyone else liable on this claim'?
Date debt was incurred El NO
. Yes. Fiil out Schedr.'.'e H.' Codebfors (Otflcia! Form ZOGH)
Last 4 digits ofaccount number
Do multiple creditors have a_n As of the petition filing date, the claim is:
interest in the same property? Checi< all that apply
- NO l:l Contingent
m Yes. Speclfy each creditor, |:] U"|iquidated
including this creditor and its relative - Disputed
priority
2.7 j YOrk Resources Descrlbe debtor‘s property that is subject to a lien $1,100,000_L $Tl§(]{],[]()t]_[]l]
Cr€di\w'="- flame 99 Vandam St, N¥, NY
AKA 533 Greenwich St NY, NY
510 E. 80th Street ’
New York, NY 10021
Crediiors'mailing-address Describe the lien
2nd N|tg
ls the creditor an insider or related party?
___ _ ii - No
Credilor's emai| address if known m Yes
ls anyone else liable on this claim?
Date debt was incurred [:| ND
- Yes. Fiil out Schedule H: Codebtors (Ofticial Form 2063-0
Last 4 digits of account number
Do m-ultipl;creditors have an As of the petition filing date, the claim is:
interest in the same property? Checl< all that apply
- NO |:] Contingent
l:| Yes. Specify each creditor_ m U""quida[ed
including this creditor and its relative . Disputed
priority
sr,nzs),sacio.o1
3_ Tota| of the dollar amounts from Part1l Column A, including the amounts from the Additional Page, if any. ‘

m ust others m se Norified for a petit Aiready used in Pari 1

Ofl'icia| Form 206D

 

7 0

 

Additiona| Page of Schedule D: Creditors Who Have Claims Secured by Property

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page 3 ot`~'l

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Debtor Bridge Associates of SE|__O, lnc. Case number (rfimow)

Name _ j

List in alphabetical order any others who must be notified for a debt already listed in Fart 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditorsl

lf no others need to notified for the debts listed in Part 1, do not till out or submit this page. !f additional pages are needed, copy this page.

 

Name and address On which line in Part1 did Last 4 digits of
you enter the related crediton? account number for
this entity
Amy Carlin, Esq.
LaRocca, Hornik, Rosen, Li"€£
Trump Bldg, 40 Wall St
32nd Flr.

New York, NY 10005

 

Richard J. Evans, Esq.
Phiiiips i_yiie, LLP mg
1400 First Federal P|aza

Rochester, NY 14614

 

Officia| Form 2060 Additiona| Page of Schedule D: Creditors Who Have C|aims Secured by Property page 4 nill.

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EXHIBIT “B”

Case 8-18-71159-reg Doc 22 Filed 03/27/18 Entered 03/27/18 16:45:10

    

Fill in this information to identifyl the case:
l Debtor name Bridge Associates of SOHO, |nc.

l
` United Slates Bankruptcy Court for the: EASTERN D|STR|CT OF NEW VGRK

 

Case number (if known)

I:| Check if this is an
j 7 l amended filing

Ot°ficia| Form ZOBSum

Summary of Assets and Liabilities for Non-lndividuals 12/15

 

Summary of Asset$

1. Schedul'e A/B: Assets-Real' and Personai Property (Of'liclal Form 2DBA1'B)

1a Rea| property:

 

 

Copy line 88 from Scheo‘ule A/B ............................................................................................................................. $ j 7'5001000-00
‘lb. Total personal property:
COPY line 91A from Schedule A/B ............................. , ........................................................................................... $ 6#4801000-0£
1c_ Total of all property:
Copy line 92 from Scheduie A/El .......................................................................................................................... 5 135980=000-00
mummary of Liabinties

 

2. Schedul'e D: Credi'tors Who Have Cl'aims Secured by Property (OfEcial Form 206D}
Copy the total dollar amount listed in Co|umn A, Amount of claim, from line 3 of Schedule D .................................... $ 71029’990'00

3. Schedule E/F: Credr'tors Who Have Unsecured C.laims (Ochia| Form ZOGE.'F)

3a. Tota| claim amounts of priority unsecured claims:
Copy the total claims from Part 1 from line 53 of Schedu!e E/F .......................................................................... $ 0-00_

3b. Total amount of claims of nonpriority amount of unsecured claims:

Copy the total of the amount of claims from earl 2 from line 5b of schedule E/F ................................................ +$ 51517,323-777_

4. Total liabilities ................................................................................................................... , ...................................
Lines 2 + 33 + 3b 1 $ 12,547,223.77

 

Ol‘l`lcial Form 2065um Summary of Assets and Liabi|ities for Non-lndividua|s page 1

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EXHIBIT “C”

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United States Bankruptcy Court

Eastern District of New York
ln re Bridge Associates of SOHO, lnc.

Case NO.

Debter[s) Chapter 11 _

LIST OF EQUITY SECURITY HOLDERS

Fullowing is the list ot`the Debtor'$ equity Securit_v holders which is prepared in accordance with rule 1007(3)(3) for filing in this Chaptcr l l Case

Nanie and last known address or place-of Security Class Nuniber of Securities
business Of holder

Kind of Interest

Adam D. Luckner 200 100% equity
619 Bridge Street
Woodmere, NY 11598

DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

l, the President of the Corporation named as the debtor in this case, declare under penalty of perjury that I have
read the foregoing List ot` Equity Security Holders and that it is true and correct to the best Of my infonnation and beiiet`.

Date February 23, 2018 Signatm-@ lsi Adam D. Luckner

Adam D. Luckner

Penn,l.'_i‘_fi)r making a`i‘n.’st= sm!€rm>irf chon€m."iirg pi'opei'h'. Fine ol`up to SS(](),OOU or imprisonment for up to 5 years Or both.
18 ll.S,C`. §§ 152 and 357].

Shect l of"l in List orEquity Security Holdcrs
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